UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WATCH TOWER BIBLE AND TRACT SOCIETY OF                        Civil Action No. 1:20-cv-3366-MKV
PENNSYLVANIA,

                              Plaintiff,                      NOTICE OF APPEARANCE
                  -against-

THE TRUTH AND TRANSPARENCY
FOUNDATION, RYAN C. McKNIGHT,
and ETHAN G. DODGE,

                              Defendants.


        PLEASE TAKE NOTICE that the undersigned attorney, Thomas Kjellberg, of Cowan,

Liebowitz & Latman, P.C., enters his appearance in the above-captioned matter as counsel for

Plaintiff Watch Tower Bible and Tract Society of Pennsylvania and requests that all notices,

pleadings, and orders entered in this matter be sent to the undersigned.



Dated: May 5, 2020
                                             Respectfully submitted,

                                             COWAN, LIEBOWITZ & LATMAN, P.C.

                                                 /s/ Thomas Kjelberg
                                             By: _______________________
                                                     Thomas Kjellberg
                                             114 West 47th Street
                                             New York, New York 10036
                                             (212) 790-9200
                                             txk@cll.com

                                             Attorney for Watch Tower Bible and Tract Society
                                             of Pennsylvania




31653/001/3474216.1
